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                                               October 18, 2004 Monday
                                               Chicagoland Final Edition

SECTION: NEWS ; ZONE CN; Pg. 11

LENGTH: 557 words

HEADLINE: 1 year later--still a mystery

SERIES: TRIBUNE INVESTIGATIVE REPORT: FORENSICS UNDER THE MICROSCOPE

BYLINE: By Maurice Possley, Tribune staff reporter.

BODY:

    Solving the mystery of whether an arsonist set fire to the Cook County Administration Building last year may boil
down to how different experts interpret the peaks and valleys spit out by a gas chromatograph at an Illinois State Police
crime lab.

     The readout from the machine purports to identify the chemical makeup of fire residue found in the 12th-floor
storage closet after the Oct. 17, 2003, blaze killed six people.

     While lawsuits have been filed and two commissions have investigated the fire, three widely different
interpretations of the test have created considerable doubt over what actually caused it.

     The disagreement underscores the problems that can sometimes cause the origin of a fire to remain undetermined
or--in a worst-case scenario--lead to someone being wrongly accused of arson.

    Shortly after the fire was extinguished, the Chicago Fire Department classified it as "undetermined."

    But when analyst Murray Shambee Jr., of the state crime lab in Chicago, reported last November that he found
gasoline on one of four samples taken from the closet where the fire began at 69 W. Washington St., the department
changed the cause to "incendiary."

    Tests on two other samples were inconclusive and a test on the fourth revealed no accelerant, according to the lab.

    Shambee's finding of gasoline in one sample triggered a chain of events that included a finding by the Cook County
medical examiner that the deaths were homicides, raising the potential of a criminal prosecution if a suspect were
identified.
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   But the Cook County commission that investigated the fire hired a chemist, Arthur Krawetz, who examined
Shambee's work and told the commission that his test results did not prove gasoline was present.

    Instead, Krawetz said, the test results showed only "other, lighter, more volatile substances that are not contained in
gasoline" and were likely the result of paper burning during the blaze.

    Earlier this year, the Chicago Police Bomb and Arson Unit was set to weigh in with an interpretation from its own
expert--that Shambee's test actually shows the presence of unburned gasoline.

     But police decided to hold back that opinion after another fire--a suspicious one--occurred last June in the same
Illinois secretary of state unit where the 2003 fire occurred, raising the possibility of a serial arsonist.

     Finding the presence of unburned gasoline on burned debris would suggest that it was tracked onto the scene after
the fire, the county's commission said.

     The commission noted that an accelerant-sniffing dog had been brought to the closet within an hour after the fire
was put out and failed to detect any accelerants. Further, the commission noted that about 50 people had walked through
the scene by the time the arson unit took the samples the next day.

   Ultimately, whether anyone could be prosecuted for arson in last year's fire will depend on the credibility of
Shambee's tests.

     Earlier this year, Shambee was put on administrative leave. State police compared videotapes of the lab with
overtime cards and determined he had inflated requests for overtime on 38 days, according to police reports. Shambee
told police that his "work output exceeds the work of one person and equals three," the reports said. "My work is
accurate and true."

    Shambee declined to comment to the Tribune on his testing or the overtime investigation.

NOTES: Sidebar.

GRAPHIC: PHOTO (color): THE SCENE: COOK COUNTY ADMINISTRATION BUILDING. Tribune file photo
by David Trotman-Wilkins.

PHOTO (color): The cause of the Loop high-rise fire that killed six people last year continues to elude experts. One
analyst said his tests found gasoline on fire residue in the 12th-floor storage closet (left) where the blaze started.
Another expert interpreted those same tests as failing to show the presence of gasoline. Photo courtesy of Robert A.
Clifford law firm.
PHOTOS 2

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